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       From: Jason Giles <jgiles@kinginjuryfirm.com>
          To: "D. Patrick Keating" <patrick@keatinglawgroup.legal>
     Subject: Fwd: TIDA Inquiry: Information on Potential Auto Accident Fraud in Louisiana
        Date: Thu, 21 Feb 2019 18:32:33 +0000
  Importance: Normal




---------- Forwarded message ---------
From:                     <        @kinginjuryfirm.com>
Date: Tue, Feb 19, 2019 at 8:22 PM
Subject: TIDA Inquiry: Information on Potential Auto Accident Fraud in Louisiana
To: <attorneys@kinginjuryfirm.com>
Cc:             <     @           .com>


FYI folks




                                                            TIDA E-List Service

       Please DO NOT reply to this email.

       Reply to: Contacts listed below.

       We are seeking information concerning potential auto accident fraud in Louisiana. Our New Orleans
       based law firm, Perrier & Lacoste, has been working diligently with us to defend and investigate
       what we believe to be staged accidents involving commercial vehicles, mostly tractor-trailers, in
       New Orleans. At great expense, we retained an investigator who developed a functional database to
       create link reports to all information gathered to date, including names, addresses,
       family/associates, cell records, etc. Information was entered for over 80 accidents on or near
       Interstate 10 (east of downtown) and Interstate 610 in the New Orleans area over the past few
       years.

       Many, if not all, of the accidents include similar factual scenarios, including:

       1) Multiple People in claimant vehicle
                                                                                                         GOVERNMENT
       2) Sideswipe with commercial vehicle trailer                                                        EXHIBIT

       3) Minimal Damage to claimant vehicle                                                                 K
       4) Little to no damage to insured trailer

       5) Unknown third-party vehicle involved (who waves down driver or assists with the setup of the
       accident)




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     6) Commercial vehicle driver is unaware of or denies impact.

     We uncovered non-party witnesses who have corroborated that many of the accidents were staged.
     In two cases, we found video footage of a claimant turning into a commercial truck. Based on the
     deposition testimony of several plaintiffs in the cases we are handling, we exposed a recurring issue
     that appears to be a weak link in each plaintiff’s version of events. That is, the people in each
     vehicle have different versions and conflicting information about how they met up before getting in
     the car to travel to a specific location. If you are defending one of these cases, it is imperative that
     you secure the cell phone records of each plaintiff to establish communication with other claimants
     in similar accidents. Moreover, in the accidents we have researched, there are very frequently the
     same lawyers and third-party medical funding companies involved.

     We are now entering the expert discovery stages in several of our cases, including depositions of
     medical providers and third-party funding companies. In addition to the fact that many of the
     accidents for which we have developed data appear staged, we have learned that the third-party
     medical funding companies involved in some of these cases are receiving reduced rates of 1/3 the
     total medical bills. Perrier & Lacoste currently has two cases set for trial in March and April 2019 in
     the USDC for the Eastern District of Louisiana and have asserted a counterclaim for conspiracy to
     commit fraud in each. We hope to build additional links and strengthen known links between the
     various accidents listed above as trial approaches in these cases. While no one in our industry has
     any issue with settling legitimate claims, if you are defending one of these cases, please know that
     some of the plaintiff’s lawyers are trying to use any settlement (even a cost of defense) of these
     types of cases as a defense to the fraud counterclaims.

     If we want fraudulent claims to stop, we need the trucking community to be united in investigating
     and defending these cases. If you would like additional information as to the database created to
     identify suspicious accidents in New Orleans, please contact               at
              @perrierlacoste.com or (504) 212-8822.

     We have a significant amount of information that cannot be shared, obviously, as we defend active
     litigation. Nonetheless, please be on the lookout for any of the common factors in these accidents,
     and feel free to contact us if you have any information or questions.

     Anderson Trucking Company –

     Canal Insurance Company –

     Cardinal Logistics –

     The Kenan Advantage Group, Inc. –

     National Interstate Insurance Company –

     USA Truck –

     Vanliner Insurance Company –

     Werner Enterprises –



                                Trucking Industry Defense Association (TIDA)
                                  3601 East Joppa Road, Baltimore, MD 21234
                                        (410) 931-8100 | info@tida.org

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